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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                               MDL No. 2804
                                                 Case No. 17-md-2804
 This Document Relates to:                       Judge Dan Aaron Polster

 City of Sacramento, et al.                      Case No. 1:20-op-45290-DAP
 v.
 Teva Pharmaceutical Industries, Ltd., et al.,
 No. 1:20-op-45290-DAP


    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF CLAIMS
              ASSERTED AGAINST BRYANT RANCH PREPACK

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the City of Sacramento voluntarily
dismisses without prejudice the claims it asserted against Bryant Ranch Prepack. Dismissal
pursuant to Rule 41(a)(1)(A)(i) is proper because Bryant Ranch Prepack has neither answered the
complaint nor moved for summary judgment.

Dated:        October 30, 2024              /s/ Robert S. Peck
                                            Robert Peck

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                                CERTIFICATE OF SERVICE

I hereby certify that on October 30, 2024, a copy of the above and foregoing was electronically
filed using the CM/ECF system, which will send a notification to all counsel of record.

                                                                     /s/ Robert S. Peck
